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                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES—GENERAL

  Case No. CV 21-03042-MWF (GJSx)                 Date: December 9, 2021
  Title:   Anthony Bouyer v. A.O.P.N. Corp., et al.

  Present: The Honorable MICHAEL W. FITZGERALD, U.S. District Judge

            Deputy Clerk:                            Court Reporter:
            Rita Sanchez                             Not Reported

            Attorneys Present for Plaintiff:         Attorneys Present for Defendant:
            None Present                             None Present

  Proceedings (In Chambers): ORDER DENYING PLAINTIFF’S APPLICATION
                             FOR DEFAULT JUDGMENT [26]

         Before the Court is Plaintiff Anthony Bouyer’s Application for Default
  Judgment against Defendants A.O.P.N. Corp., Bruce W.S. Holmes, and Leeann
  Holmes (the “Application”), filed on July 16, 2021. (Docket No. 26). No Oppositions
  to the Application were filed.

        The Application was noticed to be heard on July 19, 2021. The Court read and
  considered the papers on the Application and deemed the matter appropriate for
  decision without oral argument. See Fed. R. Civ. P. 78(b); Local Rule 7-15. The
  hearing was therefore VACATED and removed from the Court’s calendar. Vacating
  the hearing was also consistent with General Order 21-08, arising from the COVID-19
  pandemic.

         For the reasons set forth below, the Application is DENIED. Plaintiff has failed
  to satisfy the substantive requirements for a default judgment. Specifically, Plaintiff
  has failed to plead factual allegations sufficient to state a plausible ADA claim.

  I.    BACKGROUND

        Plaintiff commenced this action on April 7, 2021. (See generally Complaint
  (Docket No. 1)). The Complaint contains the following allegations, which are
  accepted as true for purposes of the Application. See Fed. R. Civ. P. 8(b)(6); NewGen,
  LLC v. Safe Cig, LLC, 840 F.3d 606, 617 (9th Cir. 2016) (“[U]pon default the factual
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  allegations of the complaint, except those relating to the amount of damages, will be
  taken as true.”) (internal quotation marks and citations omitted) (emphasis added).

         Plaintiff is a paraplegic. (Complaint ¶ 1). As a result, he relies on a wheelchair
  to get around. (See id.). Defendants Bruce W.S. Holmes and Leeann Holmes currently
  own, and owned on March 16, 2021, the real property located at 201 South Glenoaks
  Boulevard, Burbank, CA 91502 (the “Property”). (See id. ¶ 2–3). Defendant A.O.P.N.
  Corp. currently owns and operates, and owned and operated on March 16, 2021,
  Fosters Freeze, a business located on the Property. (See id. ¶¶ 2, 4–5).

         On March 16, 2021, Plaintiff went to Fosters Freeze to purchase a snack and to
  confirm that the Property was accessible to persons with disabilities. (See id. ¶ 11).
  The Property had parking spaces reserved for its patrons. (See id. ¶ 12). However,
  Plaintiff alleges that the parking spaces designated for persons with disabilities did not
  comply with the Americans with Disabilities Act (“ADA”) Accessibility Guidelines
  (“ADAAG”). (See id. ¶ 12, 14). Plaintiff claims that the slope in the accessible
  parking area exceeded that permitted by section 502.4 of the ADAAG and that a
  cracked surface in the accessible parking area gave rise to a second violation under
  section 302.1 of the ADAAG. (See id. ¶ 13).

        Because of the above-described conditions, Plaintiff is deterred from patronizing
  Fosters Freeze. (See id. ¶ 23). Plaintiff intends to return to Foster Freeze after those
  conditions have been remedied. (See id.).

         Based on these allegations, Plaintiff asserted two claims for relief: (1) violation
  of the ADA, 42 U.S.C. §§ 12101 et seq., and (2) violation of California’s Unruh Civil
  Rights Act (the “Unruh Act”), Cal. Civ. Code §§ 51–53. (Id. ¶¶ 31-40). On May 3,
  2021, the Court declined to exercise supplemental jurisdiction over Plaintiff’s Unruh
  Act claim. (Docket No. 13). Accordingly, only Plaintiff’s ADA claim remains.




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  II.    LEGAL STANDARD

         The Court does not require strict compliance with Federal Rule of Civil
  Procedure 4 when serving a defendant with an application for default judgment, but as
  a matter of discretion requires that service of the application is at least reasonably
  likely to provide notice to the defendant.

        Federal Rule of Civil Procedure 55(b) permits a court-ordered default judgment
  following the entry of default by the clerk under Rule 55(a).

         The choice as to whether a default judgment should be entered is at the sole
  discretion of the trial court. Aldabe v. Aldabe, 616 F.2d 1089, 1092 (9th Cir. 1980).
  The Ninth Circuit has determined that a court should consider seven discretionary
  factors before rendering a decision on an application for default judgment. Eitel v.
  McCool, 782 F.2d 1470, 1471–72 (9th Cir. 1986).

         The seven factors are: (1) the possibility of prejudice to the plaintiff; (2) the
  merits of the plaintiff's substantive claim; (3) the sufficiency of the Complaint; (4) the
  sum of money at stake in the action; (5) the possibility of a dispute concerning material
  facts; (6) whether the default was due to excusable neglect; and (7) the strong policy
  underlying the Federal Rules of Civil Procedure favoring a decision on the merits. Id.
  If the Court determines that default judgment is appropriate, it may consider extrinsic
  evidence or conduct an evidentiary hearing in determining the amount of damages.
  Fed. R. Civ. P. 55(b)(2).

  III.   DISCUSSION

         Here, default judgment is inappropriate because of the third Eitel factor. The
  Complaint fails to state a claim for relief under the ADA because it “primarily recite[s]
  legal conclusions.” Whitaker v. Tesla Motors, Inc., 985 F.3d 1173, 1177 (9th Cir.
  2021).


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         Plaintiff’s ADA claim centers around Defendants’ failure to remove
  architectural barriers. Such a failure is actionable under the ADA only if the removal
  of the architectural barriers is “readily achievable.” See 42 U.S.C. §
  12182(b)(2)(A)(iv). The Complaint does not contain sufficient facts to establish that
  the removal of the alleged barriers is “readily achievable.” Instead, it relies only on the
  bare assertion that “[t]he violations . . . are the types of barriers identified by the
  Department of Justice as presumably readily achievable to remove and, in fact, these
  barriers are readily achievable to remove.” (Complaint ¶ 28). The Court does not
  accept Plaintiff’s conclusory allegations as true. See Whitaker, 985 F.3d at 1177
  (holding that an ADA plaintiff must do more than “simply recite the elements of a
  cause of action”).

         Plaintiff contends that whether the removal of a barrier is “readily achievable” is
  an affirmative defense that Defendant waived. (Application at 6). Plaintiff is
  mistaken. The Ninth Circuit recently adopted a burden-shifting framework when
  addressing claims under the ADA relating to a failure to remove architectural barriers.
  “[T]o satisfy their initial burden, ADA plaintiffs must plausibly show how the cost of
  removing the architectural barrier at issue does not exceed the benefits under the
  circumstances.” Lopez v. Catalina Channel Express, Inc., 974 F.3d 1030, 1038 (9th
  Cir. 2020). Only if a plaintiff makes this initial showing does the burden shift to the
  defendant to show that the barrier is not readily achievable. Id. at 1038–39. At
  present, Plaintiff has not met his initial burden.

        [T]he ADA requires courts to consider four enumerated factors when
  determining whether an action is readily achievable, including:

        (A) the nature and cost of the action needed;

        (B) the overall financial resources of the facility or facilities involved in the
        action; the number of persons employed at such facility; the effect on expenses
        and resources, or the impact otherwise of such action upon the operation of the
        facility;

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        (C) the overall financial resources of the covered entity; the overall size of the
        business of a covered entity with respect to the number of its employees; the
        number, type, and location of its facilities; and

        (D) the type of operation or operations of the covered entity, including the
        composition, structure, and functions of the workforce of such entity; the
        geographic separateness, administrative or fiscal relationship of the facility or
        facilities in question to the covered entity.

  Id. at 1038 (quoting 42 U.S.C. § 12181(9)(A)–(D)) (internal alterations omitted).

        Although the Court will ultimately consider these four factors, Plaintiff is not
  required to address in detail each of the four factors to meet his initial burden of
  plausibility. See id. However, Plaintiff must present sufficient evidence plausibly
  showing that the cost of removing the barriers at issue does not exceed the benefits
  under the circumstances. Here, Plaintiff has made no such showing, providing no
  evidence to support his allegations. The Complaint is accordingly insufficient and the
  Application may not be granted. See Eitel, 782 F.2d at 1471–72.

  IV.   CONCLUSION

        For the foregoing reasons, Plaintiff’s Application is DENIED without
  prejudice.

        IT IS SO ORDERED.




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